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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


 ROTHSCHILD CONNECTED                      §
 DEVICES INNOVATIONS, LLC;                 §
                                           §
        Plaintiff,                         §
                                           §
 VS.                                       §    CIVIL CASE NO.
                                           §    COMPLAINT FOR DECLARATORY
 CONSTANCE KAZANJIAN;                      §    JUDGMENT
                                           §    JURY DEMAND
        Defendant.                         §


                        PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE COURT:

       COMES         NOW   PLAINTIFF       ROTHSCHILD       CONNECTED        DEVICES

INNOVATIONS, LLC (RCDI) and complains of Defendant CONSTANCE KAZANJIAN

for cause of action shows the following:

                                       PARTIES

1. Plaintiff is TEXAS CORPORATION headquartered in this Division of the Eastern

   District of Texas.

2. Defendant CONSTANCE KAZANJIAN is an individual resident of Miami-Dade

   County, Florida and may be served at her last known address: 10350 West Bay harbor

   Drive Apartment 8TUV Bay Harbor Island, Florida 33154.

                            JURISDICTION AND VENUE


3. This Court has jurisdiction in this case pursuant to the Federal Declaratory Judgment
   Act, Title 28, U.S.C. 2201 and under Diversity 28 U.S.C. 1332(a)(2).




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4. Plaintiff’s damages are in excess of the minimum jurisdictional limits of the Court.
5. Venue of this case is proper in the Sherman Division of the Eastern District of Texas

    because the incident made the basis of this suit occurred in Denton County, Texas,
    located within the boundaries of the Sherman Division of the Eastern District of Texas.


6. The U.S. District Court for the Eastern District of Texas has personal jurisdiction over

    the Defendant because the Defendant has done business in the this district and division,

    and many of the acts complained of and giving rise to the claims alleged herein

    occurred in Texas.




                              FACTUAL BACKGROUND

7. Plaintiff is currently prosecuting patent litigation in the Northern District of Georgia,

    in Case No. 1:16-cv-01241; styled Rothschild Connected Devices Innovations, LLC v.

    Coca-Cola Company (Coca-Cola Lawsuit).

8. On April 2, 2021, Defendant, by and through her attorney John B. Agnetti, sent

    correspondence to Plaintiff’s Counsel (Attached Exhibit A).         In that letter Ms.

    Kazanjian claims a right to recovery either by trial or settlement 15% of the Coca-Cola

    Lawsuit.

9. Under Florida State Bar Rules, Plaintiff’s Counsel is forced to segregate such funds

    until a court determines what rights if any Ms. Kazanjian has in those funds. Florida

    Bar Rule 5-1.1(f)1


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  Disputed Ownership of Trust Funds. When in the course of representation a lawyer is
in possession of property in which 2 or more persons (1 of whom may be the lawyer)
claim interests, the property must be treated by the lawyer as trust property, but the



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10. Plaintiff vehemently denies that Ms. Kazanjian would have any right under Texas Law

   to such proceeds.

                                 CAUSES OF ACTION

11. Plaintiff incorporates each and every allegation set forth in paragraph 7 – 10 as if set

   forth fully herein.

12. Based on these facts, an actual controversy exists between the Parties regarding the

   Defendant’s purported interest in recovery in the Coca-Cola Lawsuit.

13. There is no agreement between the parties assigning any interest to that lawsuit or any

   settlement proceeds. Likewise at no time did Defendant own any interest in Plaintiff,

   was she assigned any shares or interest in the company or has she held any position in

   the RCDI.

14. Defendant’s claim that she is entitled to interest in the Coca-Cola lawsuit has forced

   Plaintiff’s counsel to segregate such interest in any settlement or recovery under Florida

   law. Florida Bar Rule 5-1.1(f)

15. An actual, present and justiciable controversy has arisen between the parties concerning

   Plaintiff’s recovery in the Coca-Cola lawsuit.

16. Plaintiff seeks declaratory judgment from this Court that it is not required to segregate

   any interest in the Coca-Cola lawsuit to the benefit of the Defendant.




portion belonging to the lawyer or law firm must be withdrawn within a reasonable time
after it becomes due unless the right of the lawyer or law firm to receive it is disputed, in
which event the portion in dispute must be kept separate by the lawyer until the dispute is
resolved. The lawyer must promptly distribute all portions of the property as to which the
interests are not in dispute.




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                         PRAYER AND JURY DEMAND

17. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully DEMANDS

   TRIAL BY JURY AND requests that the Court:;

      a.     Enter judgment according to the declaratory relief sought;

      b.     All costs of court; and

      c.     Such other and further relief to which Plaintiff may be justly entitled.




                                            Respectfully submitted,

                                            HIGDON LAWYERS


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